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                IN TH E UN ITED STATES BAN KRUPT CY CO U RT
                  FO R TH E SO UTH ERN D ISTRICT O F TEXAS                                 ENTERED
                             H OU STON D IVISION                                           08/13/2018


IN ltE:                                       5
S& S HEAA'Y H AUL,                            5         CASE No,18-33318
                                                     (CHAPTER 7-JUDGEBOHMI
              D EBTOR

            A GREED O RDER ON BARCASLL C'S M OTION FO R R ELIEF FROM
                       AUTOMATIC STAY UNDER IIU.S.C.53624d)
                               (RelatestoDkt# 13)
       Barcas LLC (CcBarcas'') and Randy W .W illiams, Chapter 7 Trustee tffTnzstee''l
subrnitted this Agteed O rder on Barcas's M otion for Relief from the Autom adc Stay under

11U.S.C j 362(d)(thettmotionh')to exerciseitsstat-utoryand contracmalrightsin collateral
foritssecured claim againstS&S Heas'
                                   y HaulrdDebtorh')thatwasflled with the Courton
July 18,2018.After reviewing the motion,Trustee has concluded thatthe value ofthe
security for Barcas's secured claim is substantially less than the am ount of such claim and

that there is no beneiit to the estate in opposing the relief requested in Barcas's m otion.

Inasm uch as no other creditor or party-in-interest opposes the relief requested in Barcas's

motion,the Court concludesthatthe teliefrequested in such m otion should be apptoved

and the hearing currently scheduled on the m otion on A ugust 14,2018 at 10 a.m .should be

cancelled.W ith no further notice being required,itisaccordingly

O RDERED :

       Barcus's M otion for Relief from the Automatic Stay under           U.S.C 1 362$)is
granted.Theautomaticstayisherebyterminatedunder11U.S.C.j 362(d)to allow Barcasto
exercise and al1contractual and statutory rights in regard to the oil tanker trailers that are

collateralforitssecuredclaim assetforth in Barcas'smotion (dkt#13))
AGREED O RDER ON BARCASLLC M OTION FOR R ELIEFFROM STAY                               PAGE 1
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       The 14-day period under Bankruptcy Rule4001(a)(3) is terminated and the relief
provided in this Agteed O rderisim m ediately effective;

       Barcas shall reduce the am ount of any proof of claim for the indebtedness that

Debtorowesto Barcasby $120y000.00,which representsthe estim ated value ofthe fouroil

tanker ttailets that ate presently located in D ebtor's leased storage facility in El Reno,

O klahom a.lfBarcas is able to locate and exercise its conttactualand stam tory rights in the

otherfiveoi1tankertrailersthatarecollateralforitssecured claim (thelocation ofwhich are
currently unknown to Trustee and Barcas),then Barcas shall take such acdons as are
necessary(such asElingan amended proofofclaim)to reduceitsclaim by $30,000pereach
oiltankertrailerthatitrecovers;

       The previously scheduled hearing on August 14, 2018 at 10:00 a.m . on B arcas's

m odon ishereby cancelled.

DATED:AUGUSTlj 2018.

                                          THE H ONOM BLEJEFFBOHM,
                                          UNITED STATESBANKRUPTCYJUDGE




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